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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       CASE NO. 21-mj-017-GMH
                                               :
CLEVELAND GROVER                               :
MEREDITH, JR.                                  :
                                               :
                       Defendant.              :


   GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this reply in response to the defendant’s

Memorandum In Support of Release. The government requests that the following points and

authorities, as well as any other facts, arguments and authorities presented at the detention hearing,

be considered in the Court’s determination regarding pre-trial detention.

                                            Background

       On January 7, 2021, a criminal complaint and arrest warrant was filed in the United States

District Court for the District of Columbia charging the defendant with Interstate Communication

of Threats, in violation of Title 18 U.S.C. § 875(c). In addition, the complaint alleges violations

of District of Columbia Superior Court with 7 D.C. Code §§ 2502.01(a) and 2506.01(a)(3). The

charges stem from interstate threats communicated by the defendant on January 7, 2021, in which

he threatened to kill Congresswoman Nancy Pelosi. Law enforcement agents subsequently

executed a consensual search of the trailer affixed to the truck that the defendant drove to

Washington, D.C. Recovered from inside of the trailer were two firearms, including an assault

style rife with telescopic sight, over 2,500 rounds of ammunition, and multiple high capacity

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magazines. The defendant later admitted to investigators that the firearms and ammunition

belonged to him and that he knew that possession of these weapons was a violation of District law.

       On January 8, 2021, the defendant was presented before this Court for his initial

appearance. The government requested a 3-day continuance and moved for pre-trial detention

pursuant to 18 U.S.C. § 3142 (f)(2)(A). The defendant argued that a detention request was not

supported by the underlying charges. This Court rejected the argument in reliance on United States

v. Santoro, 359 F.Supp.3d 122 (2019), accepting the government’s argument that the threats charge

qualifies for detention eligibility under 18 U.S.C. § 3142 (f)(2)(A). A detention hearing was

scheduled for January 13, 2021 at 1:30 p.m.

       Government counsel filed a Memorandum in Support of Detention (ECF 4) on January 13,

2021, at 3:09 a.m., and was in receipt of the defendant’s Memorandum in Support of Relief (ECF

5) that day at 12:09 p.m. At the scheduled detention hearing, this Court rescheduled the detention

hearing for January 14, 2021, at 1:45 p.m., to provide the government an opportunity to reply to

the defendant’s memorandum.

                                          Argument

       The defendant argues that the interstate communication of a threat to kidnap or injure

another person does not qualify as a crime of violence. This ignores the analysis in United States

v. Santoro, 359 F.Supp. 3d 122 (D. Me. 2019), which determined that such an offense, as

enumerated under 18 U.S.C. § 875(c), is a crime of violence. The very threat to injure another, it

reasoned, is a threatened use of violent force. As is the case here, the court noted that “[t]he

defendant has not explained how one can threaten to injure the person of another without such a

threat implying the use of violent force to do so.” Santoro, 359 F.Supp. 3d at 128; citing United


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States v. Chapman, 866 F.3d 129, 134-35 (3rd Cir. 2017) (where a mailed threat to injure someone

under section 876(c) amounted to a crime of violence).

       Similarly, in citing Sontoro, the same decision was reached in United States v. Christy, No.

3:18-CR-223, 2020 WL 2794617, at *4 (M.D. Pa. May 29, 2020), where the communication of

threats, including to the President, “are clearly crimes of violence under the Bail Reform Act.” See

18 U.S.C. 3156(a)(4); United States v. Choudhry, 941 F.Supp. 2d 347, 351 (E.D.N.Y. 2013)

(communication of threat to injure another is a crime of violence for detention purposes). As in

the case where a threat issued to the President of the United States qualifies as a crime of violence

for purposes of detention, the same conclusion should follow here in the communication of a threat

against a Congresswoman.

       Nevertheless, the defendant does pose a serious risk of flight as well. He has no ties to this

community and has a means of transportation. Moreover, he has exhibited an extreme degree of

hostility against governmental functions, ostensibly traveling to the District with violent intentions

at a time that coincided with a hearing to confirm the next President of the United States.

                                           Conclusion

       WHEREFORE, the Government maintains its request for the Court order the defendant to

be detained without bond pending resolution of this case.

                                                      Respectfully submitted,

                                                      MICHAEL R. SHERWIN
                                                      Acting United States Attorney




                                               By:
                                                      AHMED BASET
                                                      Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via email on January 13, 2021.



                                               AHMED BASET
                                               Assistant United States Attorney




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